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                                         ORDERED.


         Dated: May 07, 2019




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                     www.flmb.uscourts.gov


In re:                                                          Case No. 8:18-bk-02366-CPM
                                                                Chapter 7
Barbara A. Paul
Norman Henry Paul

                 Debtor(s)      /

                        ORDER GRANTING TRUSTEE’S MOTION FOR
                          AUTHORITY TO SELL REAL PROPERTY
                    (Property: 2503 State Route 9, Au Sable Forks, New York 12912)

          THIS CASE came on for hearing on May 6, 2019 at 1:30 p.m., to consider the Chapter 7

Trustee’s Motion to Sell Real Property of the Estate, (“Motion”), pursuant to the provisions of 11

U.S.C. §363(b) and (m), Doc. No. 17. Appearance by Carolyn Chaney, Trustee. The Court

reviewed the Motion and the record and found no objections were filed. For the reasons stated

orally and recorded in open Court, which will constitute the findings of this Court, it is appropriate

to grant the Motion. Accordingly, it is

          ORDERED:

          1.     The Motion to Sell Real Property is GRANTED.

          2.     The Trustee is authorized to sell the estate’s interest in the following real property:




                                                                                                      1
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               Located in the Township or City of Au Sable Forks in Clinton County, New York,

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to the Buyers, Jennifer Whisher and James Fox for the purchase price of $40,000.00, and in

accordance with the terms and conditions set forth in the HUD-1, made a part of the Motion.

       3.      The Trustee is authorized to pay costs and expenses of sale as set forth in the

HUD-1.

       4.      Pursuant to Section 363(b) of the Bankruptcy Code, effective upon closing, the sale

of the real property will vest in the Buyer all right, title and interest of the Debtors and the

bankruptcy estate in the real property, free and of all liens, claims or interests.

       5.      The Buyer has not assumed any liabilities of the Debtors.

       6.      The Trustee is authorized to execute all documents and instruments reasonable and

necessary to close the sale.

       7.      The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

authorized to make such disbursements on or after the closing of the sale as are required by the

purchase agreement or order of this Court, including, but not limited to: (a) all delinquent real

property taxes and outstanding post-petition real property taxes pro-rated as of the closing; and

(b) other anticipated closing costs of Prorations/Adjustments, Title Charges and Escrow/

Settlement Charges, Government Recording and Transfer Charges, Lender Payoff, Real Estate

Brokers Commission of 6%, and any other miscellaneous costs of closing.

       8.      The Buyer is approved as a buyer in good faith in accordance with Section 363(m)

of the Bankruptcy Code and Buyer shall be entitled to all protections of Section 363(m) of the

Bankruptcy Code.



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       9.      The 14-day stay period provided by Rule 6004(h) is waived and this Order shall be

effective and enforceable immediately upon entry.




Trustee Carolyn Chaney is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.




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